                                                                                11/13/2018
                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                        LYNCHBURG DIVISION

LES CHRISTOPHER BURNS,                            )
                                                  )
                                                  )
                  Plaintiff,                      )     Case No. 6:18CV00073
                                                  )
v.                                                )     OPINION AND ORDER
                                                  )
                                                  )
CHRISTOPHER LEE COOK, ET AL.,                     )     By: James P. Jones
                                                  )     United States District Judge
                                                  )
                  Defendants.                     )

      M. Paul Valois, James River Legal Associates, Lynchburg, Virginia, for
Plaintiff; Laura Day Rottenborn and Krista Consiglio, Assistant United States
Attorneys, Roanoke, Virginia, for Defendant Thomas T. Cullen.

      In this action for violation of civil rights under 42 U.S.C. § 1983, one of the

defendants, Thomas T. Cullen, United States Attorney for the Western District of

Virginia, has moved to dismiss the claim against him made in the plaintiff’s First

Amended Complaint. I will grant the motion.1

      The plaintiff, Les Christopher Burns, contends in his First Amended

Complaint that a deputy sheriff of Bedford County and a former assistant United

States Attorney conspired to violate his civil rights by manufacturing false
      1
         The motion by defendant Cullen was filed and served electronically on October
12, 2018. No responsive brief to the motion has been filed by the plaintiff, although it
was due under the court’s Local Rules no later than October 26, 2018. W.D. Va. Civ. R.
3(c)(1). No request for extension of time has been made.




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evidence against him in a federal criminal prosecution. 2 As to U.S. Attorney

Cullen, he is sued in his official capacity and charged in Count Seven of the First

Amended Complaint with maintaining a policy or custom of hiding exculpatory

evidence from courts, in violation of the Constitution.         Nominal damages, a

declaratory judgment, and attorneys’ fees are sought, as well as prospective

injunctive relief.

                                          I.

      U.S. Attorney Cullen contends that the First Amended Complaint should be

dismissed pursuant to Federal Rule of Civil Procedure 12(b)(1) because the court

lacks subject-matter jurisdiction over Burns’ claim against him. He asserts that the

court lacks subject-matter jurisdiction because the United States has not waived its

sovereign immunity and because Burns cannot establish standing in his claim

against U.S. Attorney Cullen. In addition, U.S. Attorney Cullen moves to dismiss

Burns’ claim against him pursuant to Federal Rule of Civil Procedure 12(b)(6)

because Burns has failed to state a claim against him.

      Federal courts have limited jurisdiction and are empowered to act only in the

specific instances authorized by Congress. Bowman v. White, 388 F.2d 756, 760


      2
         Some of the circumstances alleged were the subject of an opinion of this court
granting a new trial to Burns. United States v. Burns, No. 6:13-cr-00022, 2016 WL
3910273 (W.D. Va. July 14, 2016) (Moon, J.). The prosecution against Burns was later
dismissed at the request of the government.

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(4th Cir. 1968). The court must determine questions of subject-matter jurisdiction

before it can address the merits of a case. Steel Co. v. Citizens for a Better Env’t,

523 U.S. 83, 94–95 (1998). Thus, when a party moves to dismiss for lack of

subject-matter jurisdiction and for failure to state a claim, the court must address

the question of subject-matter jurisdiction first. Bell v. Hood, 327 U.S. 678, 682

(1946).

      As contended by U.S. Attorney Cullen, I find that the court lacks subject-

matter jurisdiction because the United States has not waived its sovereign

immunity. Federal courts do not have jurisdiction over actions against the United

States unless Congress has expressly waived the United States’ sovereign

immunity. United States v. Sherwood, 312 U.S. 584, 586–87 (1941). Suits against

federal officials in their official capacity are suits against the United States.

Portsmouth Redev. & Hous. Auth. v. Pierce, 706 F.2d 471, 473 (4th Cir. 1983).

Thus, federal officials sued in their official capacity may assert the United States’

sovereign immunity. Lewis v. Clarke, 137 S. Ct. 1285, 1290–91 (2017). “A

waiver of the Federal Government’s sovereign immunity must be unequivocally

expressed in statutory text . . . and will not be implied.” Lane v. Pena, 518 U.S.

187, 192 (1996).3



      3
          I have omitted internal quotation marks and citations throughout this opinion,
unless otherwise noted.
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      Burns’ First Amended Complaint is against U.S. Attorney Cullen in his

official capacity, and therefore it is against the United States. Thus, there must be

an express waiver of the United States’ sovereign immunity for the court to have

jurisdiction over Burns’ suit against U.S. Attorney Cullen. Although Burns alleges

in his First Amended Complaint that the court has jurisdiction under 28 U.S.C. §

1331, this statute “is not a general waiver of sovereign immunity.” Randall v.

United States, 95 F.3d 339, 345 (4th Cir. 1996) (quoting Coggeshall Dev. Corp. v.

Diamond, 884 F.2d 1, 4 (1st Cir. 1989)). The only other statute that Burns cites,

42 U.S.C. § 1983, does not waive the United States’ sovereign immunity because it

creates liability only against persons exercising power “possessed by virtue of state

law.” West v. Atkins, 487 U.S. 42, 48–49 (1988) (quoting United States v. Classic,

313 U.S. 299, 326 (1941)). U.S. Attorney Cullen exercises his authority by virtue

of federal, rather than state, law. Accordingly, Burns’ First Amended Complaint

does not state a waiver of the United States’ sovereign immunity, and the court

lacks subject-matter jurisdiction over it.

      I also find that the court lacks subject-matter jurisdiction because Burns

cannot establish standing in his claim against U.S. Attorney Cullen.         Federal

courts’ jurisdiction extends only to “cases” and “controversies,” and no case or

controversy exists if a plaintiff lacks standing to sue. Raines v. Byrd, 521 U.S.

811, 818 (1997). To establish standing, plaintiffs must show (1) that they have


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suffered a concrete and particularized injury-in-fact, or they will suffer an

imminent injury, (2) that is fairly traceable to the challenged conduct of the

defendant and (3) that is likely to be redressed by a favorable judicial decision.

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992).

      A claim that the plaintiff was exposed to illegal conduct in the past “does not

in itself show a present case or controversy regarding injunctive relief . . . if

unaccompanied by any continuing, present adverse effects.” O’Shea v. Littleton,

414 U.S. 488, 495–96 (1974). Further, where “the prospect of future injury rests

on the likelihood that [the plaintiff] will again be arrested for and charged with

violations of the criminal law and will again be subjected to [the challenged

practices],” the case-or-controversy requirement is not satisfied. Id. at 496. Such

an allegation does not establish that the plaintiff will suffer an imminent injury.

See id. at 497 (finding that injury was not sufficiently real and immediate because

the court assumed “that respondents will conduct their activities within the law and

so avoid prosecution and conviction as well as exposure to the challenged course

of conduct said to be followed”).

      Burns’ First Amended Complaint does not establish his standing to sue U.S.

Attorney Cullen because it does not show a concrete and particularized injury-in-

fact or an imminent injury. Burns does not allege any continuing, present adverse

effects of the illegal conduct to which he was exposed in the past. Further, Burns’


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allegation that “it is likely that he will interact with and be exposed to the policies

and customs of the United States Attorney’s Office,” Am. Compl. ¶ 91, ECF No. 4,

does not establish a sufficiently imminent injury. I assume that Burns will conduct

his activities within the law and so avoid exposure to the challenged policies and

customs. Accordingly, Burns’ First Amended Complaint fails to establish the first

requirement for showing standing — an injury-in-fact or an imminent injury —

and the court lacks subject-matter jurisdiction over it.


                                          II.


      For the foregoing reasons, it is ORDERED that Defendant Thomas T.

Cullen’s Motion to Dismiss, ECF No. 19, is GRANTED and the claims against

said defendant are DISMISSED. The Clerk shall terminate Thomas T. Cullen,

United States Attorney, as a party to this action.



                                                ENTER: November 13, 2018

                                                /s/ James P. Jones
                                                United States District Judge




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